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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 06-60146 CIV-TORRES

                                             Consent Case

   CHRISTOPHER JAMES PEER,

           Plaintiff,

   v.

   DANIEL WARFIELD LEWIS

           Defendant.
                                                 /

          DEFENDANT, DANIEL WARFIELD LEWIS’ MOTION FOR SANCTIONS
        AGAINST PLAINTIFF'S FORMER COUNSEL, RICHARD L. ROSENBAUM, ESQ.
              AND/OR LAW OFFICES OF RICHARD L. ROSENBAUM, ESQ.
          PURSUANT TO 28 U.S.C. §1927, AND THE COURT'S INHERENT POWER

           The Defendant, DANIEL WARFIELD LEWIS (hereinafter “LEWIS”), by and through
   his undersigned counsel files this, his Motion for Sanctions Against Plaintiff’s Former Counsel,
   Richard L. Rosenbaum, Esq. and Law Offices of Richard L. Rosenbaum, Esq. Pursuant to 28
   U.S.C. §1927, and the Court's Inherent Power 1 , and in support states:
                              GENERALLY: RELIEF REQUESTED
           The Defendant requests that this Honorable Court impose sanctions, pursuant to 28
   U.S.C. §1927, the Court’s Inherent Power, and Fed. R. Civ. P. 11(c)(1)(B) against the Plaintiff’s
   Former Counsel, Richard L. Rosenbaum, Esq. and Law Offices of Richard L. Rosenbaum, Esq.
   (collectively hereinafter “Rosenbaum”) for multiplying the proceedings in this case unreasonably
   and vexatiously by knowingly and/or recklessly pursuing the Plaintiff, CHRISTOPHER JAMES
   PEER’s (hereinafter “Peer”) frivolous and factually baseless claim with full knowledge that
   Peer’s claim was not tenable; for abusing the judicial system to subvert an election and to coerce

   1
     Defendant’s Memorandum of Law in Support of Defendant, Daniel Warfield Lewis’ Motion
   for Sanctions Against Plaintiff’s Former Counsel, Richard L. Rosenbaum, Esq. and/or Law


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   Lewis into dismissing the State Action 2 and dropping out of the electoral race for the Office of
   Mayor of the City of Fort Lauderdale; for his well orchestrated collateral media play and bad
   faith extrajudicial comments to the media; for engaging in bad faith bullying tactics when Lewis
   was acting as a pro se litigant, and/or for engaging in dilatory tactics. Should it appear to this
   Honorable Court that the Defendant has not presented sufficient evidence to support the instant
   Motion, or Rosenbaum opposes this Motion by reference to and/or introduction of evidence not
   previously provided by Peer in this matter, the Defendant requests that he be granted leave to
   conduct 28 U.S.C. 1927 discovery 3 . See Byrne v. Nezhat, 261 F.3d. 1075 (11th Cir. 2001)
   where the District Court allowed defense counsel to engage in Rule 11 discovery.
         ROSENBAUM KNEW THE EVIDENCE CONTRADICTED PEER’S CLAIM
          Rosenbaum alleged in Peer’s Complaint that Lewis had impermissibly obtained Peer’s
   credit report under false pretenses and published information from his credit report in Lewis’
   Emergency Complaint for Declaratory Judgment in the State Action (hereinafter “Emergency
   Complaint”). The information published in Paragraph 19 of the Emergency Complaint
   (hereinafter “Paragraph 19”) was a North Carolina address which put in doubt that Peer met the
   residency qualifications to be a legitimate candidate for the Office of Mayor of the City of Fort
   Lauderdale. Lewis’ Former Counsel, Robert David Malove, Esq. (hereinafter “Malove)
   obtained the North Carolina address contained in Paragraph 19 from a Westlaw People Finder
   Historic Tracker Record. Malove mistakenly attributed the source of the North Carolina address
   to a TransUnion credit report because the Westlaw People Finder Historic Tracker Record listed
   TransUnion as its source. Prior to this lawsuit being filed by Rosenbaum, Malove’s error was
   corrected in Lewis’s unverified Amended Emergency Complaint for Declaratory Judgment
   Concerning Candidate Ineligibility (hereinafter “Amended Complaint”).

   Offices of Richard L. Rosenbaum, Esq. Pursuant to 28 U.S.C. §1927, and the Court’s Inherent
   Power is being filed simultaneously immediately after this is filed through CM/ECF.
   2
     The term “State Action” is used hereinafter to refer to the matter of Dan Lewis v. Christopher
   James Peer, Broward County Circuit Court Case No. 06-000599 CACE (21).
   3
     The Plaintiff, Plaintiff's Counsel, and Plaintiff’s Former Counsel’s engaged in dilatory,
   obstructionist, and bad faith tactics to decapitate Lewis' discovery efforts at every turn which
   tactics have effectively denied Lewis ample and a fair opportunity for discovery.

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          Borrowing from Kant, Rosenbaum failed to establish a posteriori that information from
   Peer’s TransUnion credit report was published and/or obtained by Lewis, and that Lewis
   obtained Peer’s TransUnion credit report. Rosenbaum initiated, and insisted upon Peer’s claims
   knowing full well that Peer’s allegations did not comport with the facts.
          On February 2, 2007, Peer provided his 2/2/06 TransUnion credit report (hereinafter
   “2/2/06 credit report”) to Rosenbaum. Rosenbaum signed and filed Peer’s Complaint despite the
   fact that Lewis’ Complaint had been amended eliminating Westlaw’s source of Peer’s North
   Carolina address, and despite his knowledge that the source of the information contained in
   Paragraph 19 was Westlaw’s People Finder Historic Tracker Record service, and that Peer’s
   2/2/06 credit report contradicts Peer’s claim that Lewis directly or indirectly obtained a copy of
   Peer’s credit report.
          Rosenbaum knew that Peer’s lawsuit was factually baseless when he filed this action, and
   yet he continued to insist upon Peer’s claim with the Emergency Complaint being his only basis.
   Rosenbaum did not proffer Peer’s 2/2/06 credit report as evidence that Lewis obtained Peer’s
   credit report either directly or indirectly; that the information contained in Paragraph 19 was, in
   fact, contained in Peer’s 2/2/06 credit report; and/or that Westlaw, Malove, and/or Lewis
   obtained, and/or inquired about Peer’s credit report in October 2005, in any manner whatsoever,
   let alone under false pretenses. The only document cited by Rosenbaum in Peer’s April 18, 2006
   Initial Disclosures as a document that the Plaintiff intends to use to support his claims was the
   Emergency Complaint. And, in the five (5) months Rosenbaum represented Peer in this action,
   Rosenbaum did little to obtain any evidence to support Peer’s claims. Rosenbaum’s only
   discovery pursuit was a mere 9 Requests for Admission.
          During his representation of Peer, Rosenbaum did, however condemn Lewis to the
   media, obstruct Lewis’ discovery efforts, and delay the case. On the last day to serve Peer’s
   responses to Lewis’ Interrogatories and a week before Peer’s responses to Lewis’ Request for
   Production were due, Rosenbaum moved to withdraw from the case and sought a forty-five (45)
   day continuance of this case.
          After violation of a court order and a motion for sanctions, on July 25, 2006, in his
   Response to No. 16 of Defendants’ First Request for Production, the Plaintiff produced a copy
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   of his credit report that he pulled and provided to Rosenbaum on 2/2/06. Almost a year after the
   commencement of this action, Peer’s 2/2/06 credit report was filed under seal by this Court at the
   Defendant’s request. Peer’s 2/2/06 credit report, sitting under seal in the vault in MIA,
   contradicts Peer’s claim, and thus Rosenbaum could not proffer it in support of Peer’s claim. It
   defies logic to bring a Fair Credit Reporting Act (hereinafter “FCRA”) violation action and not
   proffer the Plaintiff’s credit report. To prevail on an FCRA action, Rosenbaum would have to
   show that the information published or obtained came from the Plaintiff’s credit report.
   However, Rosenbaum’s only basis for Peer’s lawsuit was not Peer’s 2/2/06 credit report, but
   rather the Emergency Complaint which was amended prior to the filing of this lawsuit, and is
   judicially protected speech and not evidence. Rosenbaum failed to establish a good faith basis
   for even a hypothetical FCRA action, much less the fanciful one Rosenbaum initiated,
   publicized, and maintained. Rosenbaum knew he had no case, not even a cold case.
          Rosenbaum should be sanctioned for using the Federal Courts to continue to litigate
   Peer’s case; knowing that Peer’s case was clearly not tenable and never was; abusing the judicial
   process for improper political purposes; and engaging in bad faith conduct subsequent to filing
   this action and throughout his representation of Peer in this matter.
                   IMPROPER POLITICAL PURPOSES OF THIS LAWSUIT
   1.     In or about May 2005, Lewis entered the race for the office of Mayor of the City of Fort
   Lauderdale. See Affidavit of Daniel Warfield Lewis, which was previously filed in this matter as
   Exhibit “1” to D.E. 65, entered on 8/22/2006 (hereinafter “Lewis’ Affidavit”).
   2.     In or before December 2005, Jim Naugle (hereinafter “Naugle”) entered the electoral
   race for the office of Mayor of the City of Fort Lauderdale. Id. As the second candidate for
   Mayor, Naugle’s entry into the race for Mayor triggered a March 14, 2006 general election
   between Lewis and Naugle.
   3.     On Tuesday, January 10, 2006, the last day of qualifying for the election for the office of
   Mayor of the City of Fort Lauderdale, Peer entered the electoral race for the office of Mayor of
   the City of Fort Lauderdale. See Peer's Depo. p. 84, which was previously filed in this matter as
   D.E. 42, entered on 8/03/2006 (hereinafter “Peer’s Depo.”). As the third candidate for Mayor,
   Peer’s entry into the race triggered a February 14, 2005 Primary election (hereinafter “Primary”)
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   between Peer, Lewis and Naugle. See Peer's Depo. at 158-159.
   4.     According to Peer, he decided to run for Mayor of the City of For Lauderdale as follows:
          I was out and out about, you know, even though -- I guess, I don't live here, but I
          was out in the neighbor of Rio Vista and places like the Quarter Deck Restaurant,
          South Port -- I don't know if I was at South Port or not, but you know, different
          restaurants and hearing people talk and discuss and I started getting this idea, you
          know, that why don't I just go ahead and give this a shot.
   See Peer's Depo. at 154-155.
   5.     At Peer's deposition, he was asked who the ten or fifteen people were who talked him
   into running as reported by the Sun-Sentinel on January 12. 2006, and he responded in part:
          And again, it was not -- again, it didn't sound good for the media to say that I had
          come up with this idea on my own after talking to people and thinking about it. I
          mean, if you want to have supporters, you know Chris Rickborn, Brian
          McNeaher, is a good friend of mine, my friend, Mark, you know, Chuck, I talked
          to him during this time frame…
   See Peer's Depo. at 155-156.
   6.     Chuck Malkus (hereinafter “Malkus”) told Peer that “if it was going to be a positive
   experience and if it was something that he wanted to do, he should go for it.” See Malkus' Depo.
   p. 25-26, which was previously filed in this matter as D.E. 41, entered on 8/03/2006 (hereinafter
   “Malkus’ Depo.”).
   7.     At Peer's deposition, he was asked whether he was asked to get into the race by Naugle,
   and Peer responded "[n]o, I was not, that I know of." At Peer's deposition, he was asked whether
   he was asked to get into the race by anybody indirectly working with Naugle's campaign, and he
   responded "[n]o, not that I know of." See Peer's Depo. at 156.
   8.     Peer engaged public relations consultant Malkus a financial contributor to Naugle’s
   campaign, to help him with his campaign "after [Peer] had officially started getting battered by
   the media," but Peer did not pay him for his services. See Peer's Depo. at 55, 136, and 157.
   "When things really started blowing up in the newspapers […Peer] had to ask [Malkus] to really
   come on fully and support [Peer]". See Peer's Depo. at 158.
   9.     Although Malkus contributed to Naugle's campaign, Peer did not believe that was a
   conflict of interest or question why Malkus wanted him to run for Mayor of the City of Fort
   Lauderdale. See Peer's Depo. p. 157-158.
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   10.    Malkus gave Peer free"[a]dvice in dealing with erroneous reports in the newspaper,"
   and he spoke to the Sun-Sentinel and Miami Herald regarding Peer's campaign for the office of
   Mayor of the City of Fort Lauderdale. See Malkus' Depo. p. 26-27, which was previously filed
   in this matter as D.E. 41, entered on 8/03/2006 (hereinafter “Malkus’ Depo.”).
   11.    On January 17, 2006, Lewis’ former counsel, Malove, filed the unverified Emergency
   Complaint, which sought entry of an:
          Order declaring the Defendant’s, CHRISTOPHER JAMES PEER’S candidacy,
          for the post of Mayor-Commissioner of the City of Fort Lauderdale, unlawful,
          pursuant to the City Charter’s qualification criteria for establishing residency, as
          prescribed in Article III, Section 3.03 of said City Charter, and for such other
          relief deemed just and proper.
   See Exhibit attached to Plaintiff’s Initial Disclosures Pursuant to Rule 26(a)(1), F.R.Civ. P.,
   which was previously filed in this matter as D.E. 12, entered on 4/19/2006.
   12.    Malkus knew about Rosenbaum from doing a Google search, and he contacted
   Rosenbaum regarding representation of Peer. See Malkus’ Depo. at 34-40.
   13.    On January 30, 2006, there was a meeting wherein Peer, Rosenbaum, Malkus, a public
   relations consultant, and Chris Rickborn, Peer’s campaign treasurer were present wherein
   bringing this action was "brought up", and paragraph 19 of the Emergency Complaint was "gone
   through summarily." See Peer's Depo. at 98-106.
   14.    At the meeting detailed in paragraph thirteen (13) above, Peer retained Rosenbaum, but
   Peer did not pay him a retainer or costs. See Peer's Depo. at 47-50.
   15.    In the evening of February 1, 2006, Lewis attended Victoria Park’s Civic Association
   Candidate’s Forum. Also present at this forum was Naugle, but Peer did not attend this forum.
   See Lewis’ Affidavit.
   16.    At the February 1, 2006, Victoria Park’s Civic Association Candidates’ Forum,
   Naugle threatened Lewis with federal criminal prosecution and civil litigation if Lewis did not
   immediately withdraw from the City of Fort Lauderdale’s Mayor’s race. Lewis recalls the
   substance of his threats as follows:
          You’re going to jail. It’s a shame your kids will have to visit you in the federal
          jail as they grow up. They [Peer] met with the federal prosecutors and the state
          attorney all day. Your best chance to be with your kids and avoid prosecution is
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             to immediately withdraw from the race.
   See Lewis’ Affidavit.
   17.       Peer was not a viable candidate seriously intent about his pursuit of the
   office of Mayor of the City of Fort Lauderdale.
             a.     Peer admits he did not attend any candidates’ forums or any debates as
   a candidate for Mayor of the City of Fort Lauderdale. 4 See Exhibit "7" to D.E. 65, which was
   previously filed in this matter on 8/18/2006, entered on 8/08/2006: Peer's Response to Lewis'
   Admissions #50 & 51, and Exhibit "8" to D.E. 65, which was previously filed in this matter on
   8/18/2006, entered on 8/08/2006: Lewis' Request for Admissions. See also Peer's Depo. at 164.
              b.    Although Peer "was talking to [the reporters for the Miami Herald and
   Sun-Sentinel] almost daily," Peer admits that he did not attend the Sun-Sentinel’s nor Miami
   Heralds’ candidates’ interviews for Mayor of the City of Fort Lauderdale. Id. See also Peer’s
   Depo. at 113, and 164 -165.
              c.    On or about February 1, 2006, Peer first issued his platform to the public, and the
   four issues he publicized that he was running on were hurricane preparedness, traffic light
   synchronization, beach erosion, and public safety. See Peer's Depo. p. 169.
             d.     Peer did not raise "that much" money in his campaign. He only raised "around
   $900" in his campaign minus his $500. See Peer's Depo. at 163.


         4
         In fact, in Peer's Response to Lewis' Request for Admissions #36-41, & 43-49, Peer admits
   that he did not attend any of the following: Victoria Park Civic Association’s Candidates’
   Forum held on or about February 1, 2006; Central Beach Alliance’s Candidates’ Forum held at
   the Sheraton Yankee Trader on or about February 2, 2006; the Lauderdale Beach Homeowners’
   Association Meeting and Candidates’ Forum held on or about February 6, 2006; Peer did not
   attend the City of Fort Lauderdale Police Department’s Candidates’ Screening held on or about
   January 13, 2006; City of Fort Lauderdale Fire Fighter’s Candidate Screening held on or about
   January 13, 2006; Fort Lauderdale Council of Civic Associations’ Candidates Forum held on or
   about January 13, 2006; Progresso Homeowners’ Candidates Forum held on or about January 16,
   2006; Idlewyld Improvement Association’s Candidates Forum held on or about January 18,
   2006; Poinsetta Heights Civic Association’s Candidates Forum held on or about January 18,
   2006; Flagler Village Civic Association’s Candidates Forum held on or about January 19, 2006;
   Area 9, Broward County Democratic Executive Committee’s Candidates’ Forum held on or
   about January 24, 2006; Lake Ridge Homeowners’ Association’s Candidates’ Forum held on or
   about January 25, 2006; Realtor Association of Greater Fort Lauderdale’s candidates’ interviews.
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   18.     On February 14, 2006, Naugle won the primary election.
   19.     Although Peer did not attend any candidates' forums and/or debates as a candidate for
   Mayor of the City of Fort Lauderdale, he did attend Jim Naugle's campaign party on February
   14, 2006 at the South Port Raw Bar. See Peer's Depo. p. 145-146, and 164.
       NO BASIS FOR PEER’S LAWSUIT: ROSENBAUM KNEW IT BEFORE HE FILED IT
   20.     The Emergency Complaint was neither drafted nor signed by Lewis.
   21.     Paragraph 19, of the Emergency Complaint, states in part:
   “Defendant’s current address is ‘18 Charter Drive, Wilmington, North Carolina 28403.’”
   22.     Malove obtained the information contained in Paragraph 19 from a Westlaw People
   Finder Historic Tracker Record, dated 01/12/2006, which cited TransUnion as its source. See
   Composite Exhibit “B” to Affidavit of Robert David Malove, Esq., which was previously filed in
   this matter as Exhibit “5” to D.E. 65, entered on 8/22/2006 (hereinafter “Malove’s affidavit”).
   As discussed herein, this information was provided to Rosenbaum by Malove on February 1,
   2006. See Malove’s Affidavit..
   23.     Lewis never obtained a copy of Peer’s credit report. 5 See Lewis’ Affidavit.
   24.     Lewis never saw a copy of Peer’s credit report. 6 Id.
   25.     Malove never obtained a copy of Peer’s credit report. See Malove’s Affidavit.
   26.     Malove never saw a copy of Peer’s credit report. Id.
   27.     On February 1, 2006, at 10:00 am, in the State Action, there was a hearing. See Lewis’
   Affidavit and Malove’s Affidavit
   28.     At the February 1, 2006 hearing, Lewis, Malove, Rosenbaum, and Malkus and reporters
   from both the Sun-Sentinel and Miami Herald were present. Id.
   29.     After the February 1, 2006 hearing, before leaving the courthouse, Malove had a
   conversation with Rosenbaum in the presence of both Peer and Lewis. Id. See also Paragraph 4
   of Amended Affidavit of Christopher James Peer, which was previously filed in this matter as

   5
     Lewis never saw a copy of Peer’s credit report until Peer’s Counsel, Scott Greenbaum, Esq.,
   provided a copy of Peer’s 2/2/06 credit report to Lewis’ Counsel at Peer’s deposition on July 25,
   2006, and to date, Lewis, himself, has not obtained a copy of Peer’s credit report since Lewis’
   counsel has not provided Lewis with a copy of Peer’s credit report.
   6
     Id.
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   D.E. 105, entered on 9/22/2006 (hereinafter “Peer’s Amended Affidavit”).
   30.       In the conversation, detailed in paragraph twenty-nine (29) above, and in Malove’s
   Affidavit and Lewis’ Affidavit, Malove informed Rosenbaum and Peer that:
             a.     neither Lewis nor Malove ever obtained a copy of Peer’s credit report;
             b.     neither Lewis nor Malove ever saw a copy of Peer’s credit report; and
             c.     the information contained in Paragraph 19 was obtained from a Westlaw People
   Finder Historic Tracker Record which cited TransUnion as its source.
   31.       On February 1, 2006, after the hearing, Malove drafted and filed the Amended Complaint
   in the State Action eliminating any information as to Westlaw’s source of Peer’s North Carolina
   address. See Exhibit “C” to Malove’s Affidavit
   32.       Peer reviewed the Amended Complaint prior to filing this lawsuit, and decided to file this
   lawsuit even though any information as to Westlaw’s source of Peer’s North Carolina address
   had been removed from the Amended Complaint prior to filing this lawsuit. See Peer's Depo. p.
   35, 38.
   33.       On February 1, 2006, in response to questions from reporters from both the Sun-Sentinel
   and Miami Herald, Lewis denied ever having obtained or seen a copy of Peer’s credit report. See
   Lewis’ Affidavit.
   34.       On or about February 1, 2006, Rosenbaum requested that Peer “pull” his credit report.
   See Peer's Depo. p. 96-97, 110-111.
   35.       On February 2, 2006, Peer obtained his credit report, and Peer admitted that his own
   2/2/06 credit report does not reflect that Lewis obtained his credit report. See Peer's Depo. p. 25-
   26, 30-32, 96-97, 111.
   36.       An individual’s credit report through Equifax, Experian, and/or TransUnion lists those
   who have requested, inquired and/or obtained an individual’s credit report, and the dates of such
   requests, inquiries, and/ obtained an individual’s report, as well as the individual’s address(es).
   37.       Peer admitted that he has no knowledge of any credit report pertaining to him that reflects
   that Lewis obtained or accessed his credit report. See Peer's Depo. p. 61.
   38.       In paragraph 9 of Peer’s Amended Affidavit, he admits:
             on or about February 2, 2006, [he] pulled [his] credit report from the three (3)
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           reporting credit agencies. Although it did not indicate Mr. Lewis’ name as a
           personal recipient of a credit report, it did indicate that my credit report had been
           pulled in approximately October 2005.
   However, Peer does not say who pulled his credit report in October 2005 and/or on what date in
   October 2005 that his credit report was pulled. Neither Peer, Peer’s Counsel, Peer’s Former
   Counsel, nor Rosenbaum have proffered Peer’s 2/2/06 credit report as evidence of the allegation
   that his credit report was pulled in October 2005; the information contained in Paragraph 19 was,
   in fact, in his credit report; and/or that Lewis obtained Peer’s credit report either directly or
   indirectly.
   39.     On or about February 2, 2006, Peer admitted that he provided Rosenbaum with a copy of
   Peer’s 2/2/06 credit report. See Peer's Depo. p. 96-97, and 111.
   40.     On February 3, 2006, at 2:56 p.m., four (4) days before the next hearing in the State
   Action and eleven (11) days before the Primary Election, Rosenbaum filed the Complaint in this
   matter alleging that Lewis violated the FCRA by obtaining and publishing Peer’s credit report,
   but the Complaint fails to state how Lewis allegedly obtained Peer’s credit report. Paragraph 19
   of the Complaint alleges that Lewis violated 15 U.S.C. §1681 which provides:
           [a]ny person who knowingly and willfully obtains information on a consumer
           from a consumer reporting agency under false pretenses shall be fined under Title
           18, imprisoned for not more than 2 years, or both.
   41.     During the five (5) months Rosenbaum represented Peer, he did not proffer Peer’s 2/2/06
   credit report as evidence that Lewis obtained Peer’s credit report either directly or indirectly; that
   the North Carolina address contained in Paragraph 19 was, in fact, contained in Peer’s 2/2/06
   credit report; and/or that Westlaw, Malove, and/or Lewis obtained, and/or inquired about Peer’s
   credit report in October 2005.
   42.     Peer admits that the only evidentiary basis Peer has for his claims is the Emergency
   Complaint. See Peer's Depo. p. 34.
   43.     The only document cited by Rosenbaum in Peer’s April 18, 2006 Initial Disclosures as a
   document that the Plaintiff intends to use to support his claims was the Emergency Complaint.
   See Plaintiff’s Initial Disclosures Pursuant to Rule 26(a)(1), F.R.Civ. P., which was previously
   filed in this matter as D.E. 12, entered on 4/19/2006.

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   44.      As to Paragraph 19, allegations contained in a lawsuit cannot be taken as evidence
   because not only are they not proof of a fact, but they are judicially protected speech under
   Florida's Litigation Privilege.
   45.      Rosenbaum offered no proof, evidence, or a good faith basis that the allegations in
   Paragraph 19 were, in fact, true or that such allegations were, in fact, contained in Peer’s credit
   report. Without this proof, evidence, or good faith basis, Rosenbaum had a completely frivolous
   and factually devoid FCRA action.
   46.      Assuming, arguendo, that the address in Paragraph 19 is, in fact, contained in Peer’s
   credit report, Rosenbaum offered no evidence that Lewis improperly obtained such information
   under false pretenses from a consumer reporting agency. Without this proof, evidence, or a
   good faith basis, Rosenbaum had a completely frivolous and factually devoid FCRA action.
   47.      Rosenbaum offered no evidence that Lewis obtained Peer’s credit report either directly or
   indirectly. Without this proof, evidence, or a good faith basis, Rosenbaum had a completely
   frivolous and factually devoid FCRA action.
   48.      Rosenbaum failed to make a reasonable inquiry into the facts and/or ignored the
   facts.
   49.      Rosenbaum filed this lawsuit and maintained this lawsuit without having a factual basis
   and for improper political purposes, and with full knowledge that Peer’s action was not tenable
   in the face of the lack of evidence to support his claims and in possession of the evidence that
   gutted Peer’s claim.
   50.      Rosenbaum continued to litigate this case with full knowledge and possession of
   Peer's 2/2/06 credit report, and whether or not such credit report actually reflected the North
   Carolina address cited in Paragraph 19 and/or whether or not Westlaw, Malove, and/or Lewis are
   reflected in such credit report.
   51.      On July 25, 2006, in his Response to No. 16 of Defendants’ First Request for
   Production 7 , the Plaintiff produced a copy of his credit report that he pulled and provided to



   7
    No. 16 of Defendants’ First Request for Production requested: “Any and/or all of your
   campaign materials produced, designed, and/or distributed by you, and/or any of your agents,
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   Rosenbaum on 2/2/06. See Defendant’s First Request for Production, which was previously filed
   in this matter as Exhibit “2” to D.E. 72, entered on 8/22/2006, and Plaintiff’s Answers to
   Defendant’s First Request for Production which was previously filed in this matter as Exhibit “4”
   to D.E. 72, entered on 8/23/2006
   52.    Almost a year after the commencement of this action, Peer’s 2/2/06 credit report was
   filed under seal by this Court at the Defendant’s request. See Peer’s 2/2/06 credit report, which
   this Honorable Court ordered filed under seal in the Miami Vault, [D.E. 130], entered on
   1/25/07.
   53.    If the North Carolina address cited in Paragraph 19 is not, in fact, in Peer’s 2/2/06 credit
   report, and neither Westlaw, Malove, and/or Lewis are reflected in such report, that evidence is
   indicative that Rosenbaum knew that Peer’s lawsuit was factually baseless when Rosenbaum
   filed this action, and insisted upon Peer’s claims. Id.
   54.    Peer’s 2/2/06 credit report, sitting under seal in the vault in MIA, contradicts Peer’s
   claims, and thus Rosenbaum could not proffer it in support of Peer’s claim
   MEDIA PLAY 4 DAYS BEFORE STATE HEARING & 11 DAYS BEFORE PRIMARY
   55.    On February 2, 2006, an article appeared in the Sun-Sentinel reporting that:
          Malkus said he called in criminal defense attorney Richard Rosenbaum….

          Rosenbaum and Malkus said they’re pursuing a federal lawsuit against
          Lewis, claiming he broke the law by disclosing in his lawsuit information –
          an address from Peer’s credit report.
   (Emphasis added.) See Malkus' Depo. at 36 – 38. See also Exhibit “C” to Malkus' Depo.
   56.    On February 4, 2006, an article appeared in the Miami Herald reporting in relevant part:
          Lewis’ complaint alleges that Peer’s voter registration and license listed an Ocala
          address until late last year, that he voted using an Ocala address in 2000, 2002 and
          2004, and that a credit report lists a North Carolina address.

          Mention of the credit report drew Peer’s federal complaint alleging violation of
          the Fair Credit Reporting Act, which restricts unauthorized access to personal
          reports.

   employees, friends, campaign workers and/or volunteers, persons acting on your behalf, from
   January 1, 2006 to the present.

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          Charles Malkus, a public relations specialist helping Peer, noted that it is a
          felony to obtain information from a consumer reporting agency under false
          pretenses. Malkus, the public relations specialist, has contributed to Naugle’s
          campaign. He said he was donating his services to Peer because he believes
          Peer has been unfairly attacked.
   (Emphasis added.) See Peer's' Depo. at 62 – 65. See also Exhibit “10” to Peer's Depo.
   57.    On February 6, 2006, Rosenbaum filed a Notice of Filing a Return of Service dated
   2/3/06, which contains false, malicious, and/or ill-intended allegations. The box next to served
   personally is not checked. See 2/6/06 Notice of Filing Return of Service, which was previously
   filed in this matter as D.E. 3, entered on 2/06/2006
   58.    On February 3, 2006, Lewis was not served with a summons and complaint in this matter.
   See Lewis’ Affidavit.
   59.    Rosenbaum's process server, Arthur Rosenauer (hereinafter "Rosenauer"), testified that
   he did not actually serve Lewis on February 3, 2006. See Rosenauer's Depo. p. 8. 10, 16, 17, and
   24, which was previously filed in this matter as D.E. 48, entered on 8/20/2006 (hereinafter
   “Rosenauer’s Depo.”).
   60.    Since Lewis was not served on February 3, 2006, Rosenbaum’s filing of the February 6,
   2007 Notice of Filing a Return of Service dated 2/3/06 serves no legitimate purpose, but rather
   only serves to harass, embarrass, and/or cause Lewis negative publicity.
   61.    Rosenauer testified that the service had to be done quickly, and there was a sense of
   urgency with respect to the service of Lewis in this matter:
          As I remember, this was in a real hurry. It seems to me there was there were very
          few days and it had to be done very quickly, so, I was trying to make it as clear as
          possible without delaying the process.
   See Rosenauer's Depo. at 13.

          Well, I think there was a hearing and I think the hearing was coming up very
          quickly. It seems to me there was a hearing in just a few days, so service had
          to be effected quickly. I don't remember why there was time pressure on it,
          but I remember the hearing was close.
   (Emphasis added.) See Rosenauer's Depo. at 13-14.

          I don't remember being given that it has to be done by Friday, but I remember
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          being told that we need this quickly.
   See Rosenauer's Depo. at 24.
   62.    At his deposition, Rosenauer was asked if he could swear that the service on Lewis
   needed to be done quickly, and Rosenauer responded: "[y]eah, that it needed to be done quickly."
   See Rosenauer's Depo. at 24-25.
   63.    Although on February 4, 2006, both the Sun-Sentinel and Miami Herald reported
   allegations of Peer’s complaint in this matter, the Complaint, Summons, and Notice of Filing
   Return of Service executed for Lewis on 2/3/06 in this matter were not entered into PACER’s
   docket until February 6, 2006. See Complaint [D.E.], filed on 2/03/06, but entered on 2/06/06/
   See Peer's Depo. at 62-65, and 66-72. See also Exhibits "10" and "11" to Peer's Depo.
   64.    Peer admits giving the Complaint in this matter to Malkus. See Peer's Depo. p. 65-66.
   65.    On February 7, 2006, at 10:30 am, there was another hearing in the State Action. Lewis
   attended this hearing with Malove. See Lewis’ Affidavit and Malove’s Affidavit.
   66.    After attending the February 7, 2006 hearing, but before leaving the courthouse, Lewis
   was “served” for the first and only time in this matter with a copy of the Complaint and
   Summons. This was also the first time Lewis had seen the Complaint and Summons in this
   matter. See Lewis’ Affidavit and Malove’s Affidavit.
   67.    Rosenauer testified that the only time he served Lewis in this matter was on February 7,
   2006. See Rosenauer's Depo. at 18 – 24.
   68.    On February 9, 2006, Peer filed a Notice of Filing a Return of Service dated 2/6/06,
   which appears to be the same Return of Service dated 2/3/06, with modifications. The box next
   to served personally is now checked, and the 2/3/06 dates appear to be modified to read 2/7/06,
   with the addition of 2/7 10:15 A Personal noted at the bottom. See Notice of Filing Return of
   Service, which was previously filed in this matter as D.E. 5, entered on 2/09/2006.
                         ROSENBAUM’S BAD FAITH BULLY TACTICS
                 Rosenbaum’s Rule 11 Letter and Baseless and Improper Threats
   69.    On May 9, 2006 8 , Rosenbaum, who filed this baseless action and possessed Peer’s 2/2/06

   8
    The envelope was postmarked May 9, 2006, thereby Rosenbaum shortened Rule 11’s
   proscribed 21 day safe harbor period to 17 days.
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   credit report, actually had the audacity to send Lewis a letter, dated May 5, 2006, threatening
   Lewis with the imposition of sanctions pursuant to Fed. R.Civ.P. 11, but failed to serve Lewis
   with an actual motion and memorandum of law as required by the rules. Such letter states in
   pertinent part:
          Based upon my firm’s inquiry of the facts and circumstances surrounding this
          case, your Answer and Affirmative Defenses, and Counter-Complaint are being
          presented for an improper purpose and have been filed merely to harass or to
          cause unnecessary delay or needless increase in the cost of litigation for
          Christopher Peer…In that your allegations and factual contentions lack
          evidentiary support, and that your denials of factual contentions of Christopher
          James Peer are not reasonably based upon a lack of information, my client seeks
          to have the Court impose sanctions against you pursuant to Rule 11, Federal Rules
          of Civil Procedure. As you know the sanction may consist or include directives
          of reasonable attorneys’ fees and other expenses incurred as a direct result of your
          violation of Rule 11.

          Pursuant to the Federal Rules of Civil Procedure, this motion is made separately
          from other motions under the Rules. We are serving this Motion as provided in
          Rule 5, Federal Rules of Civil Procedure, but shall not file this Motion or present
          the same to the court unless, within 21 days after service of the Motion, your
          Answer, Affirmative Defenses, Counter-Claims and Initial Disclosures are not
          withdrawn or appropriately corrected. Of course, if you fail to make the
          necessary withdrawals and/or changes, we shall ask the court to award in favor of
          Christopher James Peer reasonable expenses and attorneys’ fees incurred in
          presenting the Motion.

          We take the imposition of sanctions very seriously in Federal Court. I hope that
          you too honor your obligations since you have elected to proceed pro se.

          I look forward to hearing your response to this Motion in a timely fashion.
          PLEASE GOVERN YOURSELF ACCORDINGLY.
   A copy of Rosenbaum’s May 5, 2006 Rule 11 Sanctions letter is attached hereto.
   70.    As a pro se litigant, on May 18, 2006, Lewis responded to Rosenbaum’s Rule 11 threat
   Letter by hand-delivery of correspondence inquiring about the intentions of his Rule 11 threat
   letter and where his Rule 11 Motion was.
   71.    Rosenbaum failed to respond to Lewis’ aforementioned May 18, 2006 correspondence
   and never served Lewis with any Rule 11 Motion and/or Memorandum of Law.

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         Rosenbaum’s Sanctions for Communicating with the Judge about His Rule 11 Letter
   72.       Having not received a response from Rosenbaum nor a Rule 11 Motion, Lewis as a
   dutiful pro se litigant mindful of the rules, in an abundance of caution, sought, via
   correspondence to the Court, dated May 19, 2006, judicial notice that he was not served with a
   Rule 11 Motion as required, and the Court’s guidance as to how the 21 days should be calculated
   in the absence of an actual Rule 11 Motion since Rule 11 did not address a situation as the
   instant one where a letter was served without a motion. A copy of Lewis’ May 19, 2006 to the
   Honorable Magistrate Judge Lurana S. Snow is attached hereto.
   73.       On May 22, 2006, Rosenbaum sent Lewis a letter threatening him again with sanctions
   even though he knew or should have known that the United States for the Southern District of
   Florida’s Local Rule 7.7 did not apply to a pro se litigant. Such letter states in pertinent part:
             On another note, it appears that you hand delivered correspondence to Magistrate
             Snow on May 19, 2006. This is in contravention of the local rules. Although you
             are not a lawyer, if you continue to have ex parte communications with the Judge,
             I shall seek further sanctions against you.
   A Copy of Rosenbaum’s May 22, 2006 letter is attached hereto.
              ROSENBAUM’S BAD FAITH DELAY AND OBSTRUCTION TACTICS
   74.       The only discovery propounded by Rosenbaum was 9 Requests for Admission
   served on May 22, 2006. A copy of Plaintiff’s Request for Admissions is attached hereto.
   75.       Rosenbaum did not seek to take the deposition of Lewis’ or any other person in this
   Matter.
   76.       However, Lewis sought to take Peer’s and Rosenbaum’s deposition as well as those
   persons listed in his Rule 26 Initial disclosures. On May 18, 2006, Lewis hand-delivered
   Rosenbaum correspondence seeking to accommodate Rosenbaum’s schedule, and asking him to
   respond by May 25, 2006 with the best dates for Peer and Rosenbaum to be deposed during the
   weeks of June 12th and June 19th, and for Rosenbaum to attend depositions of other third parties
   in the aforementioned time periods. A copy of Lewis’ May 18, 2006 Deposition letter is
   attached hereto.
   77.       Rosenbaum’s aforementioned May 22, 2006 letter, also threatened sanctions against
   Lewis if he made any attempt to depose Rosenbaum, and stated that his client was not available
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   during the week of June 12 or June 19. However, Rosenbaum failed to propose alternative dates
   for any depositions. As stated supra, a copy of Rosenbaum’s May 22, 2006 letter is attached
   hereto.
   78.       On June 16, 2006, the undersigned hand-delivered correspondence to Rosenbaum in an
   attempt to schedule depositions on dates available to Rosenbaum, and requesting that he provide
   her with his un-available dates in July by June 21, 2006. A copy of the undersigned’s June 16,
   2006 correspondence is attached hereto.
   79.       Rosenbaum failed to respond to the undersigned’s correspondence and request for
   deposition dates, and instead withdrew as detailed below.
     ROSENBAUM WITHDREW BEFORE BEING SERVED WITH A RULE 11 MOTION
   80.       On June 19, 2006, the last day to serve Peer’s responses to Lewis’ Interrogatories and a
   week before Peer’s responses to Lewis’ Request for Production were due, Rosenbaum moved to
   withdraw from the case and sought a 45 day continuance of this case. See Motion to Withdraw
   as Counsel and to Extend the Time for Plaintiff to Respond to Discovery, which was previously
   filed in this matter as D.E. 15, entered on 6/20/06.
   81.       On June 21, 2006, the Honorable James I. Cohn entered an Order Granting Motion to
   Withdraw as Counsel and Order Granting in Part Motion to Extend Time for Plaintiff to Respond
   to Discovery. See Order Granting Motion to Withdraw as Counsel and Order Granting in Part
   Motion to Extend the Time for Plaintiff to Respond to Discovery, which was previously filed in
   this matter as D.E. 18, entered on 6/22/06.
                                                 Conclusion
             Rosenbaum knew that he was filing a lawsuit not grounded in fact and possessed
   evidence which contradicted Peer’s claim. Then, Malkus, Rosenbaum, and Naugle publically
   threatened Lewis with criminal penalties citing the FCRA. When that did not result in Lewis
   dropping out of the race for Mayor and/or dropping the State Action, Rosenbaum threatened
   Lewis repeatedly with baseless sanctions. Lewis sought aggressively as a pro se litigant to
   prosecute his claims and defend against Peer’s claims, but Rosenbaum sought delays and/or
   obstructed Lewis’ quest to seek the truth throughout the discovery process, even though
   Rosenbaum had evidence contradicting Peer’s claims. Instead of doing the right thing by
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   turning over Peer’s 2/2/06 credit report, and dismissing Peer’s baseless claim, Rosenbaum
   withdrew himself from the case and thereby from sanctions pursuant to a Rule 11(c)(1)(A)
   Motion, but not from sanctions pursuant to Rule 11(c)(1)(B) on the court’s initiative. During his
   representation of Peer, Rosenbaum did more to condemn Lewis to the media, obstruct Lewis’
   discovery efforts, and delay the case than he did to prosecute Peer’s claims.
          Rosenbaum should be sanctioned pursuant to Section 1927, the Court’s Inherent Power,
   and Fed. R. Civ. P. 11(c)(1)(B) for using the Federal Courts to bring this action and to continue
   litigating Peer’s case, knowing that Peer’s case was clearly not tenable and never was; abusing
   the judicial process for improper political purpose, and engaging in bad faith conduct subsequent
   to filing this action and throughout his representation of Peer in this matter as detailed above and
   in the Memorandum of Law.
          WHEREFORE, the Defendant, DANIEL WARFIELD LEWIS, respectfully requests that
   this Honorable Court enter an Order providing for the following relief:
          a.      Imposing sanctions against Plaintiff’s Former Counsel, Richard L. Rosenbaum,
   Esq. and Law Offices of Richard L. Rosenbaum, Esq. jointly and severally, as expressly provided
   in 28 U.S.C. §1927, including but not limited to an award of the excess costs, expenses, attorneys
   fees incurred as a result of Rosenbaum’s conduct;
          b.      Imposing sanctions against Plaintiff’s Former Counsel, Richard L. Rosenbaum,
   Esq. and Law Offices of Richard L. Rosenbaum, Esq. pursuant to the Court's Inherent Authority;
          c.      Imposing sanctions on the Court’s Initiative against Plaintiff’s Former Counsel,
   Richard L. Rosenbaum, Esq. and Law Offices of Richard L. Rosenbaum, Esq. Pursuant to Fed. R.
   Civ. P. 11(c)(1)(B); and/or
          d.      Awarding such further relief as the Court deems equitable and just.
                     Certificate of Compliance with Local Rule 7.1.A.3.
          In compliance with Local Rule 7.1.A.3, the undersigned certifies that, prior to serving the
   instant Motion, she has made reasonable efforts to confer with Peer’s Former Counsel, Richard
   Rosenbaum, Esq. On July 12, 2006, had a telephone conference with Peer’s Former Counsel,
   Richard Rosenbaum, Esq. wherein the undersigned attempted to resolve the frivolous litigation
   issues in the instant Motion, but was unable to do so. To date, the undersigned has not been able
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   to resolve the matters in the instant Motion prior to serving and filing the instant Motion.
          Dated: July 9, 2007.
                                                 Respectfully Submitted,
                                                 s/Colleen Kathryn O’Loughlin
                                                 COLLEEN KATHRYN O’LOUGHLIN
                                    CERTIFICATE OF SERVICE
          I HEREBY CERTIFY on July 9, 2007, I electronically filed the foregoing document with
   the Clerk of Court using CM/ECF. I also certify that the foregoing document is being served on
   July 9, 2007 as follows: service via hand-delivery to Richard L. Rosenbaum, Esq., Plaintiff’s
   Former Counsel, Arnstein & Lehr L L P, 200 East Las Olas Boulevard, Suite 1700, Fort
   Lauderdale, Florida 33301 and via U.S. Mail on Scott Greenbaum, Esq., Plaintiff’s Counsel,
   Law Office of Scott Greenbaum, , 200 Southeast 18th Court, Fort Lauderdale, FL 33316,, who is
   not authorized to receive electronically Notices of Electronic filing.
                                                  s/Colleen Kathryn O’Loughlin
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                                                 Attorney for Defendant, Daniel Warfield Lewis




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